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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                     Alexandria Division             _
                                                                     i';         "

UNITED STATES OF AMERICA
                                                   Criminal No. 21-CR-245(AJT)
              V.                                   FILED UNDER SEAL


IGOR Y. DANCHENKO,

                      Defendant.



                    GOVERNMENT'S LIST OF TRIAL WITNESSES




The Government may call the following witnesses at trial:

   1. FBI Supervisory Special Agent Amy Anderson
   2. FBI Supervisory Intelligence Analyst Brian Auten
   3. Charles Dolan
   4. FBI Special Agent Kevin Helson
   5. Brittany Hertzog
   6. FBI Supervisory Special Agent Ryan James

                                           Respectfully submitted,

                                           JOHN H. DURHAM
                                           Special Counsel

                                           By:

                                            /S/
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